Case 1:20-cv-03010-APM   Document 1223-1   Filed 04/21/25   Page 1 of 5




                     EXHIBIT A
     Case 1:20-cv-03010-APM            Document 1223-1       Filed 04/21/25      Page 2 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                Plaintiffs,

        v.
                                                     Case No. 1:20-cv-03010-APM
 Google LLC,

                Defendant.


                     DECLARATION OF CAITLIN N. FITZPATRICK
                          FOR PRO HAC VICE ADMISSION

       In accordance with LCvR 83.2(c)(2), I, Caitlin N. Fitzpatrick, hereby declare that the

answers to the following questions are complete, true, and correct:

       1.      Full Name:

               Caitlin Noelle Fitzpatrick

       2.      Business address, telephone, and fax numbers:

               Latham & Watkins LLP
               555 Eleventh St. NW, Suite 1000
               Washington, DC 20004
               (202) 637-2200
               (202) 637-2201

       3.      State bar admissions:

               1765370, District of Columbia, 2022

               5213970, New York, 2014


       4.      In addition to being authorized to practice and in good standing in the courts of the

District of Columbia and the State of New York, I am admitted and in good standing in the

following federal courts:


                                                 1
     Case 1:20-cv-03010-APM           Document 1223-1         Filed 04/21/25      Page 3 of 5




        U.S. District Court - Eastern District of New York, 06 March 2017, CF3583

        U.S. District Court - Southern District of New York, 12 July 2016, CF5155


        5.     Have you been denied admission, disbarred, suspended from practice, reprimanded,

denied “in good standing” status, or otherwise disciplined by any court, bar association, grievance

committee or administrative body?

               ☐ Yes ☒ No

        6.     Have any proceedings which could lead to any such disciplinary action been

instituted against you in any such bodies?

               ☐ Yes ☒ No

        7.     List the number of times you have been admitted pro hac vice into this court within

the last two years:

               None.

        8.     I practice law from an office within the District of Columbia.

        9.     Are you a member of the DC Bar?

               ☒ Yes ☐ No

        10.    Do you have a pending application for admission into the U.S. District Court for

the District of Columbia?

               ☐ Yes ☒ No

        In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to
appear as sole or lead counsel in a contested evidentiary hearing or trial on the merits further
certifies that he/she:

                            (CHECK ALL ITEMS THAT APPLY)

   1.          ☐      has previously acted as sole or lead counsel in a federal district court or the
               Superior Court of the District of Columbia or a state trial court of general



                                                 2
   Case 1:20-cv-03010-APM            Document 1223-1           Filed 04/21/25       Page 4 of 5




              jurisdiction in a contested jury or bench trial or other contested evidentiary hearing
              in which testimony was taken in open court and an order or other appealable
              judgment was entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

  2.          ☐       has participated in a junior capacity in an entire contested jury or bench trial
              in a federal district court or the Superior Court of the District of Columbia or a state
              trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR 44.1(b)(2)]; OR

  3.          ☐      has satisfactorily completed a continuing legal education trial advocacy
              course of at least 30 hours sponsored by the District of Columbia Bar or accredited
              by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]

       I declare under penalty of perjury that the foregoing is true and correct.


Date: April 21, 2025
                                                     Caitlin N. Fitzpatrick
                                                     DC Bar 1765370
                                                     Latham & Watkins LLP
                                                     555 Eleventh St. NW, Suite 1000
                                                     Washington, DC 20004
                                                     (202) 637-2200
                                                     (202) 637-2201
                                                     caitlin.fitzpatrick@lw.com

                                                     Attorneys for Yahoo! Inc.




                                                 3
        Case 1:20-cv-03010-APM             Document 1223-1             Filed 04/21/25          Page 5 of 5

ÿ
                                                        ÿ
                                                        ÿ




                                                      ÿ
                                                      ÿ
                                                      ÿ
                12ÿ456789ÿ9ÿ 1ÿÿ 1ÿ85ÿ9ÿ65ÿÿ9ÿ 847ÿ ÿ9ÿ578
                             65ÿÿ9ÿ 847ÿ7ÿ 5ÿ6554!ÿ59!ÿ67
                                                      ÿ
                            "#$%&$'ÿ)*+&&ÿ+ÿ,$%-.#%/$01
                                                      ÿ

                                                        ÿ
             27ÿ8!ÿ37895ÿ72ÿ75ÿ2ÿ727!ÿ45ÿ6566ÿ7ÿ72ÿ725!ÿ72ÿ258ÿ5285ÿ
              75ÿ4595ÿ6ÿ 7ÿ72ÿÿ2ÿ65ÿ75ÿ275ÿ4582ÿ72ÿ85ÿ545ÿ2ÿ9
                                               7229ÿ9ÿ6ÿ7
    ÿ
    ÿ

                                                                                  :'ÿ;+<%$=*'>ÿ?@+/+*AB
                                                                              :ÿ@#C+ÿ@+/+D'%*ÿ<DE<0/$E+Fÿ=>
                                                                             '#=+ÿ#'Fÿ#AA$G+Fÿ%@+ÿ<+#&ÿ*Aÿ%@$<
                                                                                    "*D/%ÿ#%ÿ%@+ÿ"$%>ÿ*A
                                                                            ?#<@$'H%*'BÿIJ"JBÿ*'ÿK./$&ÿLMBÿLNLOJ
    ÿ

                                                            ÿ                     PQR:SÿKJÿ"KT;:RRS
                                                                                   "&+/1ÿ*Aÿ%@+ÿ"*D/%


    ÿ                                                           5ÿ!U
                                                                               78ÿ6ÿVÿ5ÿW5456
                                                                              ÿ9ÿ 847ÿ7ÿW5456
    ÿ                                                                                   ÿ
                                                                                        ÿ
                                                                                        ÿ
         ,*/ÿXD+<%$*'<ÿ*/ÿ0*'0+/'<Bÿ.&+#<+ÿ0*'%#0%ÿ%@+ÿIJ"JÿY#/ÿZ+=E+/<@$.ÿSAA$0+ÿ#%ÿLNL[\L\[]^_Oÿ*/ÿ+=#$&
                                             =+=E+/<+/C$0+<`F0E#/J*/HJ
                                                          ÿ
ÿ
